                  IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                          SOUTHERN DIVISION

                               NO. 7:20-MJ-1272-RJ

UNITED STAES OF AMERICA                       )
                                              )
                 v.                           )
                                              )
JORDAN DUNCAN                                 )


                               ORDER TO UNSEAL

      Upon motion of the United States, it is hereby ORDERED that the supporting

affidavit to the Complaint and Warrant earlier filed now be unsealed.

      This the ______ day of October, 2020.



                                      ROBERT B. JONES, JR.
                                      UNITED STATES MAGISTRATE JUDGE




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